Case 3:08-cr-03016-CJW-MAR   Document 183   Filed 04/10/09   Page 1 of 6
Case 3:08-cr-03016-CJW-MAR   Document 183   Filed 04/10/09   Page 2 of 6
Case 3:08-cr-03016-CJW-MAR   Document 183   Filed 04/10/09   Page 3 of 6
Case 3:08-cr-03016-CJW-MAR   Document 183   Filed 04/10/09   Page 4 of 6
Case 3:08-cr-03016-CJW-MAR   Document 183   Filed 04/10/09   Page 5 of 6
Case 3:08-cr-03016-CJW-MAR   Document 183   Filed 04/10/09   Page 6 of 6
